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rN THE UNITED sTATEs DlsrRrCT COURT
FOR THE WESTERN DISTRICT oF TENNESSEE 85 Jt.!?=§ 13 PH 3= 3b
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LUTRICIA BARNETT BUCKLEY, as
Administratrix of the Estate of DENVEY
BUCKLEY, for the use and benefit of
KATRINA and LATRICE BUCKLEY, as
Next of Kin and Heirs at law of DENVEY
BUCKLEY, deceased

Plaintiffs, No. 03-2874-DP
MAGISTRATE JUDGE TU PHAM

V.

CITY OF MEMPHIS, THE CITY OF
MEMPHIS POLICE DIVISION, OFFICER
PHILLIP PENNY, OFFICER KURTIS
SCHILK, OFFICER ROBERT G.
TEBBETTS, individually and in their
Representative Capacities as City of Memphis
Police Division Officers.

\_/\_/\_/\_/\_/\./\_/\_-/\_/\../\_/\_/\_/\..,/\_/\_/\_/\_/H_/\_/

Defendants.

 

ORDER GRANTING PLAINTIFF'S MOTION FOR AN ADDITIONAL WEEK TO FILE
RESPONSE TO DEFENDANT CITY OF MEMPHIS' MOTION FOR A PROTECTIVE
ORDER

 

Upon the motion of Plaintiff Lutricia Barnett Buckley, and for good cause shown, it is
HEREBY ORDERED that Plaintiff may have an additional Week to file her response to the
Defendant City of Memphis' motion for protective order over individuals With knowledge of

prior incidents of in-custody deaths. Plaintiff shall have until June 20, 2005 to file her response

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THE HONORABLE I. TU PHAM
UNITED STATES MAGISTRATE JUDGE

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This notice confirms a copy of the document docketed as number 160 in
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Honorable Bernice Donald
US DISTRICT COURT

